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MlDI)LE DISTRICT oF FLoRn)A 917 UCT 13 PH 12' ll
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RAY FRANcols, '-""'YL »`-;¢:~:].`;¢T;_§f?,-';L’“`"" J`
P|aintiff, CASE NO.:

_VS_ n:n-cv-m‘H-oizi__ 3'| ~‘TF>S

NATIONSTAR MOR'I`GAGE, LLC

Defendant.
/

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW P|aintiff, RAY FRANCOIS, by and through the undersigned counsel, and
sues Defendant, NATIONSTAR MORTGAGE, LLC, and in support thereof respectfully alleges
violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the
Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

INTRODUCTION

l. The TCPA was enacted to prevent companies like Defendant from invading
American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the moming; they interrupt our dinner at night; they
force the sick and elderly out of bed; they bound us until we want to rip the telephone out of the

wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

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subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (1 lth Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet.' Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/20l5/db0527/DOC-
333676A1.pdf.

JURISDICTION AND VENUE

2. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

3. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, F ederal Question Jurisdiction, as this action involves violations of the TCPA.

4. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See
Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,
746 F.3d 1242, 1249 (11"‘ Cir. 2014)

5 . The alleged violations described herein occurred in Orange County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §l39l(b)(2) as it is the

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judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.
FACTUAL ALLEGATIONS
6. Plaintiff is a natural person, and citizen of the State of Florida, residing in Orange
County, Florida

7. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

8. Plaintiff is an “alleged debtor.”

9. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11th cir. 2014) and osorio v. State Fm~m Bank, F.S.B., 746 F.3d 1242 (11“‘ Cir. 2014).

lO. Defendant is a corporation which was formed in Delaware with its principal place
of business located at 8950 Cypress Waters Boulevard, Dallas, Texas 75019 and which conducts
business in the State of Florida through its registered agent, Corporation Service Company
located at 1201 Hays Street, Tallahassee, Florida 32301.

ll. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

12. Defendant called Plaintiff on Plaintist cellular telephone approximately four
hundred (400) times in an attempt to collect an alleged debt.

13. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

14. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (407) ***-2644 and was the called party and recipient of Defendant’s calls.

15. Upon information and belief, some or all of the calls Defendant made to

Plaintift’s cellular telephone number were made using an “automatic telephone dialing system”

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which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter
“auto-dialer calls”). Plaintiff will testify that he knew it was an auto-dialer because of the vast
number of calls he received and because he heard a pause when he answered his phone before a
voice came on the line and he received prerecorded messages from Defendant.

16. On several occasions over the last four (4) years Plaintiff instructed Defendant’s
agent(s)/representative(s) to stop calling his cellular telephone.

l7. In or about 2013, Plaintiff answered a call from Defendant to his aforementioned
cellular telephone number. Plaintiff was connected to a live agent/representative of Defendant
and informed the agent/representative that the calls to his cellular telephone were harassing and
demanded that they cease calling his cellular telephone number.

18. Despite yet clearly and unequivocally revoking any consent Defendant may have
believed they had to call Plaintiff on his cellular telephone, Defendant continued to place
automated calls to Plaintiff.

l9. In or about 2014, Plaintiff answered a call from Defendant and was connected to
an agent/representative of Defendant known only as “Courtney”. Plaintiff asked “Courtney” why
the calls from Defendant continued when he on numerous occasions already demanded a
cessation of calls to his cellular telephone. “Courtney” informed Plaintiff that Defendant would
continue to call when they needed to get in contact with Plaintiff. Plaintiff then requested all
communication via email and again demanded that the harassing calls to his cellular telephone

stop immediately.

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20. Plaintiff`s numerous conversations with Defendant’s agent(s)/representative(s)
over the telephone wherein he demanded a cessation of calls to his cellular telephone were in
vain as Defendant continues to bombard him with automated calls unabated.

21. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can
reasonably expected to harass.

22. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s cellular telephone in
this case.

23. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in this case, with no
way for the consumer, Plaintiff`, or Defendant to remove the number.

24. Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff despite these individuals explaining to Defendant they wish for the calls to stop.

25. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this Complaint.

26. Defendant has numerous complaints across the country against them asserting that
their automatic telephone dialing system continues to call despite requested to stop.

27. Defendant has had numerous complaints from consumers across the country
against it asking to not be called; however, Defendant continues to call the consumers.

28. Defendant’s corporate policy provided no means for Plaintiff to have his number

removed from Defendant’s call list.

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29. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

30. Not a single call placed by Defendant to Plaintiff was placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

31. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

32. From each and every call placed without consent by Defendant to Plaintiff’s
cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his
right of seclusion.

33. From each and every call without express consent placed by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of his cellular telephone
line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate
callers or outgoing calls while the telephone was ringing from Defendant’s calls,

34. From each and every call placed without express consent by Defendant to
Plaintiff’ s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time.
For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for
the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone
and deal with missed call notifications and call logs that reflected the unwanted calls, This also
impaired the usefulness of these features of Plaintiff’s cellular telephone, which are designed to
inform the user of important missed communications

35. Each and every call placed without express consent by Defendant to Plaintist
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

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notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of
these features of Plaintiff’s cellular telephone, which are designed to inform the user of
important missed communications

36. Each and every call placed without express consent by Defendant to Plaintiff’s
cellular telephone resulted in the injury of unnecessary expenditure of Plaintist cellular
telephone’s battery power.

37. Each and every call placed without express consent by Defendant to Plaintiff`s
cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone
or network.

38. Each and every call placed without express consent by Defendant to Plaintiff’s
cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular
telephone and his cellular telephone services.

39. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affect in a personal and individualized way by stress, anxiety, and aggravation

COUNT I
(Violation of the TCPA)

40. Plaintiff fully incorporates and realleges paragraphs one (l) through forty two
(42) as if fully set forth herein.

41. Defendant willfully violated the TCPA with respect to Plaintiff`, especially for
each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified
Defendant that he wished for the calls to stop.

42. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

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Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(l)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, treble
damages, enjoinder from further violations of these parts and any other such relief the court may
deem just and proper.

couNT 11
(violation or the FCCPA)

43. Plaintiff fully incorporates and realleges paragraphs one (l) through forty two
(42) as if fully set forth herein

44. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

45. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of his or her family with such frequency as can reasonably be
expected to harass the debtor or his or her family.

46. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or
her family.

47. Defendant’s actions have directly and proximately resulted in Plaintiff’ s prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

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Respectfully submitted,

/s/ Frank H. Kerney, III, Esquire

 

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